            Case 4:22-cv-03279 Document 1-11 Filed on 09/23/22 in TXSD Page 1 of 2


                                                                                                               Jana I. Lubert
                                                                                             633 West 5th Street, Suite 4000
                                                                                              Los Angeles, California 90071
                                                                                             Jana.Lubert@lewisbrisbois.com
                                                                                                       Direct: 213.680.5075




     September 16, 2022




     Via Email: EastProLaw@msn.com
     Michael Joseph Bitgood
     a/k/a Michael Easton
     503 FM 359, Suite 130-220
     Richmond, Texas 77406

     Via Email: SueNorman@SueNormanLaw.com
     Susan C. Norman
     Law Office of Susan C. Norman
     P.O. Box 55585
     Houston, Texas 77255


              Re:       Lewis Brisbois Bisgaard & Smith LLP trademark infringement

     Dear Mr. Bitgood and Ms. Norman:

              I am General Counsel for Lewis Brisbois Bisgaard & Smith LLP, and write to you regarding a matter
     that is of significant concern. As we detail below, we understand Mr. Bitgood is the promoter and principle
     of an entity formed in Texas called “Lewis Brisbois Bisgaard & Smith LLP”.

             Our Firm was founded in 1979 with seven lawyers in California and has now grown to over 1600
     lawyers in over 30 states including Texas. The Firm originally was known as LEWIS D’AMATO,
     BRISBOIS & BISGAARD. Since 2002, the firm has been known as LEWIS BRISBOIS BISGAARD &
     SMITH. The Firm has developed, as we trust you might imagine, enormous good will if not fame as a
     nationwide law firm.

             The Firm owns the trademark LEWIS BRISBOIS BISGAARD & SMITH by virtue of its continuous
     usage as noted since 2002. Moreover, the Firm owns a federal trademark registration for LB (Registration #
     5,151,123) and for LB LEWIS BRISBOIS (Registration # 5,151,128). Suffice to say, the Firm owns
     exceedingly strong trademark rights in its name.

            Mr. Bitgood caused to be issued a domestic partnership in Texas with the name, “Lewis Brisbois
     Bisgaard & Smith LLP”. That is not only our Firm’s trademark, it is also the exact legal name of our limited



                                                                                     EXHIBIT 11
ARIZONA • CALIFORNIA • COLORADO • CONNECTICUT • DELAWARE • FLORIDA • GEORGIA • ILLINOIS • INDIANA • KANSAS • KENTUCKY • LOUISIANA
MARYLAND • MASSACHUSETTS • MINNESOTA • MISSOURI • NEVADA • NEW JERSEY • NEW MEXICO • NEW YORK • NORTH CAROLINA • OHIO
OREGON • PENNSYLVANIA • RHODE ISLAND • TENNESSEE • TEXAS • UTAH • VIRGINIA • WASHINGTON • WASHINGTON D.C. • WEST VIRGINIA
     4893-4155-3971.1
       Case 4:22-cv-03279 Document 1-11 Filed on 09/23/22 in TXSD Page 2 of 2


Michael Bitgood and Susan Norman
September 16, 2022
Page 2


liability partnership. Because of the fame and notoriety of our Firm, such an endeavor was most certainly
done with the intent to impersonate our law firm.

        Based on the above, we demand that you dissolve immediately the entity named “Lewis Brisbois
Bisgaard & Smith LLP” and cease any further activity which serves to identify yourself as our law firm.
Ms. Norman, you are not authorized to represent to anyone, and especially any court, that you represent our
Firm. Your failure to adhere to these demands will force us to pursue all remedies available including but
not limited to, asking for an investigation of your efforts to impersonate our law firm.

         We expect confirmation within 48 hours that these demands have been met.



                                                            Very truly yours,
                                                              Jana Lubert
                                                            Jana I. Lubert
                                                            General Counsel
                                                            LEWIS BRISBOIS BISGAARD &
                                                            SMITH LLP




                                  LEWIS BRISBOIS BISGAARD & SMITH LLP
                                           www.lewisbrisbois.com


4893-4155-3971.1
